 Case 3:19-cv-00764-X Document 245 Filed 01/10/20                           Page 1 of 22 PageID 8166



                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


 VEROBLUE FARMS USA INC.,                                    §
    PLAINTIFF                                                §
                                                             §
   V.                                                        §
                                                             §
 LESLIE A. WULF, BRUCE A. HALL, JAMES                        §
 REA, JOHN REA, AND KEITH DRIVER,                            §
    DEFENDANTS/THIRD PARTY                                   §       CIVIL ACTION NO. 3:19-CV-00764-L
 PLAINTIFFS,                                                 §
                                                             §            HON. BRANTLEY STARR
   V.                                                        §
                                                             §
 EVA EBSTEIN, JENS HAARKOETTER, BJORN                        §
 THELANDER, ANDERS WESTER, NORMAN                            §
 MCCOWAN, DR. OTTO HAPPEL AND ALDER                          §
 AQUA, LTD.                                                  §
   THIRD-PARTY DEFENDANTS,


   FOUNDER DEFENDANTS’ REPLY IN FURTHER SUPPORT OF THEIR MOTION
            TO DISMISS THE SECOND AMENDED COMPLAINT




                                                                 i
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
 Case 3:19-cv-00764-X Document 245 Filed 01/10/20                                              Page 2 of 22 PageID 8167



                                                  TABLE OF CONTENTS


I.       The Rule 9(b) Particularity Standard Applies to All of VBF’s Claims Because Every Claim
         Incorporates or References Fraud, Concealment, or Misrepresentations. ...........................1

II.      Fraud Based on Concealment or Omission Still Must Meet 9(b). .......................................6

III.     The Myriad Fraud Allegations in the SAC Fail to Meet 9(b). .............................................7

         A.        VBF’s Collective Pleadings Against Founders Are Impermissible
                   and Inadequate. ........................................................................................................7
         B.        Plaintiff’s Allegations Must Not be Based on Speculation,
                   Conclusory Allegations or “Information and Belief”. .............................................8
         C.        VBF Fails to Adequately Identify Who Was Injured by Founders’
                   Fraud, When they Were Injured, and How They Were Injured. ............................11

IV.      VBF’s Civil RICO Claim Should Be Dismissed (COUNT XXVI). ..................................11

         A.        The SAC Fails to Specify the Allegedly Fraudulent Statements’
                   Author or Speaker, Date, Place, and Reasons Why They Are
                   Fraudulent. .............................................................................................................12
         B.        VBF Continues to Miss the Point-Any Predicate Act Not Plead With
                   Sufficient Particularity Cannot Be Used As A Basis for a RICO
                   Claim. .....................................................................................................................13

              C. VBF Has Failed to Plausibly Allege a RICO Enterprise. ......................................13

V.       Plaintiff Lacks Standing Under Fed R. Civ. P. 12 (B)(1). .................................................14

VI.      VBF Should Not Be Permitted Leave to Amended. .........................................................15




                                                                            ii
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
 Case 3:19-cv-00764-X Document 245 Filed 01/10/20                                             Page 3 of 22 PageID 8168



                                                 TABLE OF AUTHORITY

                                                                                                                                 PAGE(S)
CASES

ABN-AMRO MORTG. GROUP, INC. V. EMERSON MANUFACTURED HOMES, LTD.,
  2005 WL 1949601 (S.D. TEX. AUG. 15, 2005) ........................................................................... 12
BELL ATLANTIC CORP. V. TWOMBLY,
  550 U.S. 544 (2007) .................................................................................................................... 15
BERRY V. INDIANAPOLIS LIFE, INS. CO.,
  2011 WL 3555869 (N.D. TEX. AUG. 11, 2011)............................................................................. 5
BONTON V. ARCHER CHRYSLER PLYMOUTH,
  889 F. SUPP. 995 (S.D. TEX. 1995) ............................................................................................... 6
BROWN V. WHITCRAFT,
  2008 WL 2066929 (N.D.TEX.2008) ............................................................................................. 3
CASTILLO V. FIRST CITY BANCORPORATION OF TEX., INC.,
  43 F.3D 953 (5TH CIR. 1994) ......................................................................................................... 5
CHAU V. AVIVA LIFE AND ANNUITY CO.,
  2011 WL 1990446 (N.D. TEX. MAY. 20, 2011) ............................................................................ 5
CLAPPER V. AM. REALTY INV’RS, INC.,
  2016 WL 302313, N. 14 (N.D. TEX. JAN. 25, 2016) .................................................................... 13
CYPRESS/SPANISH FT. I, L.P. V. PROF. SERV. INDUS., INC.,
  814 F. SUPP. 2D 698 (N.D. TEX. 2011) .......................................................................................... 6
GE CAPITAL COMMERCIAL, INC. V. WRIGHT & WRIGHT, INC.,
  2009 WL 5173954 (N.D.TEX.2009) ............................................................................................. 4
GOLDSTEIN V. MCI WORLDCOM,
  340 F. 3D 238 (5TH CIR. 2003) .................................................................................................... 16
HALARIS V. VIACOM, INC., 3:06-CV-1646-N,
  2007 WL 4145405 (N.D. TEX. SEP. 21, 2007) .............................................................................. 6
IN RE CAPSTEAD MORTG. CORP. SEC. LITIG.,
  258 F. SUPP. 2D 533 (N.D. TEX. 2003) ........................................................................................ 16
IN RE MASTERCARD INT’L, INC., INTERNET GAMBLING LITIG.,
  132 F. SUPP. 2D 468 (E.D. LA. 2001) .......................................................................................... 12
IN RE PARKCENTRAL GLOB. LITIG.,
  884 F. SUPP. 2D 464 (N.D. TEX. 2012) .......................................................................................... 8
IN RE WALTER,
  462 B.R. 698 (BANKR. N.D. IOWA, 2011) ..................................................................................... 3
JAGUAR CARS, INC. V. ROYAL OAKS MOTOR CAR CO.,
  46 F.3D 258 (3D CIR. 1995)......................................................................................................... 14
JANVEY V. SUAREZ,
  978 F. SUPP. 2D 685 (N.D. TEX 2013) ........................................................................................... 4
LIFE PARTNERS CREDITORS’ TRUST V. BLACK DIAMOND LIFEPLAN FUND,
  2017 WL 9934885 (N.D. TEX. NOV. 27, 2017)............................................................................. 5
LITSON–GRUENBER V. JPMORGAN CHASE & CO.,
  2009 WL 4884426 (N.D.TEX. DEC. 16, 2009) .......................................................................... 3, 7
NAT’L ORGANIZATION FOR WOMEN, INC. V. SCHEIDLER,


                                                                            iii
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
 Case 3:19-cv-00764-X Document 245 Filed 01/10/20                                             Page 4 of 22 PageID 8169



  510 U.S. 249 (1994) .................................................................................................................... 14
NORTHWEST BANK AND TRUST CO. V. FIRST ILLINOIS NAT’L BANK,
  354 F.3D 721 (8TH CIR. 2003) ....................................................................................................... 3
RANIERI V. ADVOCARE INT'L, L.P.,
  2019 WL 3207501 (N.D. TEX. JULY 16, 2019) ........................................................................... 14
RIVERA V. WYETH- AYERST LABS.,
  283 F.3D 315 (5TH CIR. 2002) ..................................................................................................... 14
S.E.C. V. FRASER,
  2010 WL 5776401 (D. ARIZ. JAN. 28, 2010) ................................................................................ 7
SCHALLER TEL. CO. V. GOLDEN SKY SYS. INC.,
  298 F.3D 736 (8TH CIR. 2002) ....................................................................................................... 4
SEC V. POWER,
  525 F. SUPP. 2D 415 (S.D.N.Y. 2007) ........................................................................................... 8
STANISSIS V. DYNCORP INT’L LLC,
  2015 WL 9478184 (N.D. TEX. DEC. 29, 2015) ........................................................................... 14
TEL–PHONIC SERVICES, INC. V. TBS INT’L, INC.,
  975 F.2D 1134 (5TH CIR. 1992)................................................................................................... 13
THORNTON V. MICROGRAFX, INC.,
  878 F. SUPP. 931 (N.D. TEX. 1995) ............................................................................................... 9
TIGUE INV. CO. V. CHASE BANK OF TEX., N.A.,
  2004 WL 3170789 (N.D. TEX. NOV. 15, 2004)......................................................................... 2, 3
TRIPLEX COMMC'N, INC. V. RILEY,
  900 S.W.2D 716 (TEX. 1995) ........................................................................................................ 4
TUCHMAN V. DSC COMMC’NS CORP.,
  14 F.3D 1061 (5TH CIR. 1994) ..................................................................................................... 12
U.S. EX REL. THOMPSON V. COLUMBIA/HCA HEALTHCARE CORP.,
  125 F.3D 899 (5TH CIR. 1997) ....................................................................................................... 8
UNIMOBIL 84 INC. V. SPURNEY,
  797 F.2D 214 (5TH CIR. 1986)....................................................................................................... 8
UNITED STATES EX REL. HENDRICKSON V. BANK OF AM., N.A.,
  343 F. SUPP. 3D 610 (N.D. TEX. 2018) .......................................................................................... 8
WEXNER V. FIRST MANHATTAN CO.,
  902 F.2D 169 (2D CIR. 1990)................................................................................................... 9, 10
WHELAN V. WINCHESTER PROD. CO.,
  319 F.3D 225 (5TH CIR. 2003) ..................................................................................................... 13
WILLIAMS V. WMX TECHS, INC.,
  112 F.3D 175 (5TH CIR. 1997) ..................................................................................................... 12

STATUTES

IOWA CODE §684.4(1)(A) ................................................................................................................ 3

RULES

FED. R. CIV. P. 12(B)(1)................................................................................................................. 14
FED. R. CIV PROC. 9(B) .......................................................................................................... PASSIM


                                                                            iv
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
  Case 3:19-cv-00764-X Document 245 Filed 01/10/20                                                  Page 5 of 22 PageID 8170



RULE 9 ......................................................................................................................................... 3, 4
RULES 8 AND 9(B) ........................................................................................................................ 7, 8




                                                                                v
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
 Case 3:19-cv-00764-X Document 245 Filed 01/10/20                   Page 6 of 22 PageID 8171




         VBF plead and characterized this lawsuit as a massive fraud conducted by Founders. But

when faced with the reality that it has not adequately alleged fraud, now VBF tries to recharacterize

its allegations as something less than “actual fraud”. However, VBF’s entire case is based on

fraud, misrepresentation and omissions, as made abundantly clear by the language employed in its

Second Amended Complaint (“SAC”). VBF summarizes this point succinctly when they allege

“the Founders’ services to VBF, in whatever form, were premised on maintenance and

perpetuation of a fraudulent scheme…” (SAC, p. 69 ¶ 267). Raising such serious accusations

imposes a heighted pleading obligation that VBF has not met. Upon close reading of the SAC, it

cannot be determined: 1) who (which individual Founder) did/said or omitted what; 2) to whom or

when each statement or omission was made; and 3) what injury resulted from these purported

misrepresentations. Accordingly, this Court must dismiss the SAC, as a more blatant disregard of

the protections provided by Rule 9(b) Founders cannot imagine. Moreover, the SAC’s vague and

conclusory allegations reveal that VBF is not the party who was injured by Founders’ purported

misdeeds. VBF cannot recover for frauds that may have been committed against its current sole

investor, nor for its former investors, lenders, no matter how grave. For these reasons, the SAC’s

claims against Founders must be dismissed.

         I.        The Rule 9(b) Particularity Standard Applies to All of VBF’s Claims Because
                   Every Claim Incorporates or References Fraud, Concealment, or
                   Misrepresentations.

         In its Response, VBF admits a critical legal conclusion: it has not alleged sufficient facts

in its SAC to meet Rule 9(b)’s pleading with particularity requirement for claims sounding in

fraud. VBF deflects from this fatal flaw by arguing that 9(b) only applies to two of its claims

because the other claims do not rely “solely” on fraud. That argument is belied by VBF’s

voluminous allegations of fraud that are referenced and/or incorporated into every single one of


                                                             1
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
 Case 3:19-cv-00764-X Document 245 Filed 01/10/20                  Page 7 of 22 PageID 8172



its claims. Once this Court reviews the clear legal authority that Rule ((b) applies to each and

every one of VBF’s claims, then by VBF’s own acknowledgement, the Second Amended

Complaint is insufficient and must be dismissed.

         VBF acknowledges that six of its 20 claims, those for fraudulent concealment, fraudulent

misrepresentations, fraudulent transfer, and RICO (Counts II, III, V-VIII and XVII) may be subject

to Fed. R. Civ Proc. 9(b), and thus, must be plead “with particularity.” Fed. R. Civ. P. 9(b). VBF

asserts that the remaining claims do not “rely solely on fraud,” and thus, disputes the application

of Rule 9(b) to them. (Resp. at 8.)

         But VBF’s own allegations indicate otherwise. In every one of its 20 claims, VBF

incorporates all 229 paragraphs of its factual allegations. As Founders detailed in their Motion,

there are 95 instances in the factual allegations alone where VBF alleges fraud, misrepresentation,

and/or concealment. (Mot. to Dismiss, Dkt. No. 184, Ex. B., ¶¶ 1-95.) Every one of these

allegations of fraud is incorporated in every one of VBF’s claims. Moreover, the terms “fraud,”

“misrepresentation,” or “concealment” are included in an additional 81 paragraphs to support all

20 of VBF’s claims against Founders. (Id., Ex. B., ¶¶ 96-177.) By its own words, every one of

VBF’s claims is based on Founders’ alleged fraud, misrepresentation, or omission.

         While some of VBF’s claims might occasionally by exempt from Rule 9(b) particularity

requirements, the facts here unequivocally dictate 9(b) is in full force and effect for each of VBF’s

claims against Founders. Where fraud is not the denominated claim, but the facts underlying the

claim are inextricably intertwined with allegations of fraud, the complaint is subject to dismissal

if it does not meet Rule 9(b) particularity requirements. See Tigue Inv. Co. v. Chase Bank of Tex.,

N.A., No. Civ. A. 3:03 CV 2490 N, 2004 WL 3170789, at *2 (N.D. Tex. Nov. 15, 2004). VBF’s

claims are inextricably intertwined and underpinned by purported allegations of fraud. Once fraud



                                                             2
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
 Case 3:19-cv-00764-X Document 245 Filed 01/10/20                  Page 8 of 22 PageID 8173



is alleged, even if not a required element of the claim, then Rule 9(b) must be met with respect

to the fraudulent conduct alleged. Tigue Inv. Co. v. Chase Bank of Tex., N.A., No. Civ. A. 3:03

CV 2490 N, 2004 WL 3170789, at *2 (N.D. Tex. Nov. 15, 2004). Thus, by choosing to plead

voluminous, far reaching, and aggressive fraud against Founders, VBF plead itself into meeting

Rule 9(b) as well. Specifically:

         Breach of Fiduciary Duty (Count I). VBF contends Founders breached their fiduciary

duty by: “self-dealing and by concealing their self-dealing,” “continuously and systematically

misrepresenting the Metrics,” and “obfuscate[ing] the Founders’ misconduct; (SAC p. 61, ¶¶

233, 235). Self-dealing and concealment of self-dealing are hallmarks of fraudulent conduct, as

are systematic misrepresentations. Plaintiff's claims are premised on allegations of fraud and the

pleadings are therefore subject to the heightened pleading standard of Rule 9(b). Brown v.

Whitcraft, 2008 WL 2066929, * 4 (N.D.Tex.2008); see Litson–Gruenber v. JPMorgan Chase &

Co., No. 7:09–CV–056–O, 2009 WL 4884426, at *4–5 (N.D.Tex. Dec. 16, 2009) (applying Rule

9(b) to a breach of fiduciary duty claim).

         Iowa and Texas Statutory Voidable Transfer. With respect to the Iowa statutory claims

(Counts V, VI), Iowa Code §684.4(1)(a) (“Iowa UVTA”) allows a plaintiff to avoid transfers that

are incurred by either actual fraud or constructive fraud. Iowa court have distinguished between

cases of actual fraud and constructive fraud in deciding whether the heightened pleading

requirements of Rule 9 apply. In re Walter, 462 B.R. 698, 703 (Bankr. N.D. Iowa, 2011). Iowa

federal courts have adopted the majority view and held that Rule 9(b) is inapplicable to

constructively fraudulent transfers because intent or deceit is not an element of constructive fraud.

Id. However, the Eighth Circuit has held that when a complaint alleges actual fraud as a basis for

a voidable transfer, the heightened pleading requirements of Rule 9(b) do apply. See Northwest



                                                             3
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
 Case 3:19-cv-00764-X Document 245 Filed 01/10/20                  Page 9 of 22 PageID 8174



Bank and Trust Co. v. First Illinois Nat’l Bank, 354 F.3d 721, 727 (8th Cir. 2003); see also Schaller

Tel. Co. v. Golden Sky Sys. Inc., 298 F.3d 736, 746 (8th Cir. 2002).

         Much like its Iowa counterpart, the Northern District of Texas distinguishes between

intentional fraudulent transfer and constructive fraudulent transfer claims under the Texas Uniform

Fraudulent Transfer Act (“TUFTA”) (Counts VII, VIII). Janvey v. Suarez, 978 F. Supp. 2d 685,

699 (N.D. Tex 2013); GE Capital Commercial, Inc. v. Wright & Wright, Inc., 2009 WL 5173954,

at *10 (N.D.Tex.2009), (noting receipt of funds fraudulently obtained is an allegation of a

fraudulent act). Unlike GE Capital, however, here VBF has unambiguously alleged actual,

intentional fraud as the basis for its TUFTA claims: “transfers were made with the actual intent to

hinder, delay, or defraud VBF;” “Founders misrepresented facts related to the FCR;” “Founders

concealed facts that would have alerted VBF and its creditors of the misappropriation;” “due to

the fraudulent scheme and misrepresented facts related to the VBF business described above,

VBF was insolvent from the beginning of that scheme and the commencement of the

misrepresentations,” and “the Founders’ services to VBF, in whatever form, were premised on

maintenance and perpetuation of a fraudulent scheme (¶¶ 274, 277, 284). When a claim under

TUFTA is based on an underlying claim of actual fraud, not constructive fraud, a plaintiff must

plead it’s TUFTA claim with the specificity required in Rule 9(b). See GE Capital, 2009 WL

5173954, at *10.

         Conspiracy (Count IX). The essential elements of a civil conspiracy claim are: (1) two

or more persons; (2) an object to be accomplished; (3) a meeting of minds on the object or course

of action; (4) one or more unlawful, overt acts; and (5) damages as the proximate result. Triplex

Commc'n, Inc. v. Riley, 900 S.W.2d 716, 719 (Tex. 1995). Where the alleged conspiracy sounds

in fraud, the complaint must satisfy the heightened pleading standards in Rule 9 of the Federal



                                                             4
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                            Page 10 of 22 PageID 8175



Rules of Civil Procedure. Castillo v. First City Bancorporation of Tex., Inc., 43 F.3d 953, 961 (5th

Cir. 1994). VBF alleges: Founders agreed to engage fraud, alleged herein, for their personal

benefit, to cause harm to VBF, while concealing the same from VBF, (¶ 290) while making

fraudulent misrepresentations, and fraudulent non-disclosures or concealments. (¶ 291).

Clearly VBF’s civil conspiracy claim sounds in fraud and must meet Rule 9(b).

         Aiding and Abetting (Count X). When a claim for aiding and abetting is premised on a

claim for fraud, a plaintiff must satisfy the requirements for Rule 9(b). Life Partners Creditors’

Trust v. Black Diamond Lifeplan Fund, No. 4:17-cv-00225-O, 2017 WL 9934885, at *5 (N.D. Tex.

Nov. 27, 2017). VBF alleges: “the Founders knowingly and substantially assisted each other in

their breaches of fiduciary duties alleged herein, for their personal benefit, while concealing the

same.” (¶ 296) Accordingly, VBF bases its claim for aiding and abetting on the same facts as its

claim for breach of fiduciary duty. This claim is also based in fraud, (see supra p. 3) and thus is

also subject to 9(b).

         Unjust Enrichment (Count XI). In this claim, VBF alleges it “has conferred millions of

dollars’ worth of benefit upon the Founders due to the Founders’ fraud or taking undue

advantage.” (SAC, ¶300) (emphasis added). This assertion is grounded in fraud, as it is

incorporates the misrepresentations and omissions underlying all of Plaintiff’s other claims, and

must therefore meet the heightened pleading requirement of Rule 9(b). See Chau v. Aviva Life and

Annuity Co., No. 3:09–CV–2305–B., 2011 WL 1990446, at *8 (N.D. Tex. May. 20, 2011).1

          Equitable Remedy Claims (Counts XII-XIX) Plaintiff’s eight equitable claims against

Founders for declaratory judgment, accounting, rescission and restitution, all sound in fraud. They


1
  The Northern District of Texas has found that when “the success of [Plaintiff’s] unjust enrichment claim rises and
falls with the fraud claim … the attempt to plead ‘unjust enrichment’ as a separate claim adds nothing.” Berry v.
Indianapolis Life, Ins. Co., No. 3:08–CV–0248–B, 2011 WL 3555869, at *9 (N.D. Tex. Aug. 11, 2011). As such,
Plaintiff’s claim for unjust enrichment is duplicative of its fraud claims and should be dismissed.

                                                              5
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                   Page 11 of 22 PageID 8176



all reference “concealment,” “fraud,” self-dealing, “misrepresentations,” ‘misappropriation,”

“dishonesty,” “omissions,” and/or breach of fiduciary duty. (SAC, ¶¶ 302, 304, 307, 310, 311,

312, 314-16, 324, 326, 329-30, 332-34, 339, 341, 342-44, 351, 354.) Thus, each and all of these

Remedy Claims together, as all are predicated on Founders alleged fraudulent acts, as noted above.

The Rule 9(b) standard applies when the predicate acts of a claim sound in fraud. Cypress/Spanish

Ft. I, L.P. v. Prof. Serv. Indus., Inc., 814 F. Supp. 2d 698, 711 (N.D. Tex. 2011) (citing Bonton v.

Archer Chrysler Plymouth, 889 F. Supp. 995 (S.D. Tex. 1995).

         II.       Fraud Based on Concealment or Omission Still Must Meet 9(b).

         VBF again, knowing it has not complied with Rule 9(b), even for its named fraud claims

(Counts II-IV), instead posits that a diluted 9(b) standard applies because these claims rely on

omissions and fraudulent concealment. (Resp., Dkt. No. 217 at 10). VBF claims in the case of

fraud based on omission, only the facts omitted, the place where the omissions should have

appeared, and the way in which the omitted facts made the misrepresentations misleading” need

be plead. (Id.) This is inaccurate: courts in this district have specifically held that allegations of

knowing omissions sound in fraud. See Halaris v. Viacom, Inc., 3:06-CV-1646-N, 2007 WL

4145405, at *9 (N.D. Tex. Sep. 21, 2007). When a complaint repeatedly alleges that various

defendants misled plaintiffs by “conveying through ... omission inaccurate information” such

allegations satisfy the “the knowing deception that is the hallmark of fraud.” Id. As such, the

heightened pleading requirements of Rule 9(b) apply to VBF’s allegations of fraudulent omission.

         But VBF failed to meet even its proposed diluted standard. Critically, VBF fails to allege

where the omissions should have appeared, i.e., fails to identify who should have been informed

of the omitted facts. Nowhere is this more evident than in VBF’s references to various “Written

Representations” (SAC, ¶¶ 95, 96, 98, 99, 100, 103, 104, 106, 107, 110, 118, 123, 128, 139, 142,



                                                             6
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                    Page 12 of 22 PageID 8177



144, 146, 153, 154, 157-59, 161, 162, 164, 165, 168, 169.) VBF attaches multiple power points

and spreadsheets to the SAC and accuses Founders of omitting critical information from them.

(Id., ¶¶ 96, 98, 98-101,103, 104, 105, 107, 110, 118, 124, 125, 128, 131, 139, 145, 154, 158, 159,

160, 164-66, 169; Exs. 8- 12, 14-19, 21, 26-29, 31, 32.) But in most instances VBF does not

allege that these “representations” or spreadsheets were actually shared with or presented to any

one, that is, where the omissions should have appeared. At what meetings or through what

communications were these representations made? Which investors or lenders saw these

“representations” and were misled by the omitted facts? (Mot. to Dismiss, Ex. C, “WHEN?”

Column.) In some instances, it’s not even alleged or clear that the “representations” ever left

Founders’ own hands. (SAC, ¶¶ 95, Ex. 7.) Whether these claims are stated for nondisclosure,

misrepresentation, or constructive fraud, they must meet Rule 9(b). Litson-Gruenber, 2009 WL

4884426 at *4-5 (N.D. Tex. Dec. 16, 2009) (omission).

         III.               The Myriad Fraud Allegations in the SAC Fail to Meet 9(b).

         As set forth in the Motion, the SAC fails to meet Rule 9(b), because it: a) relies on

impermissible group pleading, b) relies “on information and belief or otherwise conclusory

allegations, and c) fails to allege reliance by any purported victim of Founders’ fraud. VBF’s

Response does not remedy any of these deficiencies.

                            A. VBF’s Collective Pleadings Against Founders Are Impermissible
                               and Inadequate.

         As Founders argued, VBF repeatedly pleads against them collectively, which is

impermissible, both under Rules 8 and 9(b). In response, VBF suggests group pleading is

sufficient here, because “the references to the ‘Founders’ collectively are allegations that all of the

Founders committed the specific misconduct alleged.” (Resp., Dkt. No. 217 at 4-5). VBF relies on

an unreported case in Arizona, S.E.C. v. Fraser, No. CV-09-00443-PHX-GMS, 2010 WL


                                                             7
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                  Page 13 of 22 PageID 8178



5776401, at *6 (D. Ariz. Jan. 28, 2010), and a New York case, SEC v. Power, 525 F. Supp. 2d

415, 422 (S.D.N.Y. 2007), for this contention. The Fifth Circuit, however, holds that in order for

plaintiffs to satisfy Rule 9(b)—as well as Rule 8—stating allegations generally as to a group of

defendants, while failing to segregate the alleged wrongdoing of one from that of another is

prohibited. Unimobil 84 Inc. v. Spurney, 797 F.2d 214, 217 (5th Cir. 1986); see also United States

ex rel. Hendrickson v. Bank of Am., N.A., 343 F. Supp. 3d 610, 633 (N.D. Tex. 2018), aff'd, 779 F.

App'x 250 (5th Cir. 2019) (holding that Plaintiff’s amended complaint fails to distinguish between

Defendants and thus is “deficient with regard to the ‘who’”). The Northern District of Texas also

clearly provides that “[i]t is impermissible to lump all defendants together; rather, the complaint

must segregate the alleged wrongdoing of one from another.” In re Parkcentral Glob. Litig., 884

F. Supp. 2d 464, 471 (N.D. Tex. 2012) (internal quotations omitted). VBF wholly ignored this

precedent in its Response and in pleading its SAC. On this basis alone, the SAC fails to adequately

allege claims against Founders, under both Rules 8 and 9(b).

                            B. Plaintiff’s Allegations Must Not Be Based on Speculation,
                               Conclusory Allegations or “Information and Belief”.

         Similarly, many of the allegations that VBF argues meet 9(b) are made on information and

belief, or otherwise conclusory, and thus, cannot adequately support VBF’s claims. (Resp., Dkt.

No. 217 at 7). In fact, the phrase “on information and belief” appears in 26 of the SAC’s

allegations. (SAC, ¶¶ 30, 35, 69,70, 95, 98-101, 104, 107, 110, 118, 124, 135, 128, 131, 139, 154,

168, 169, 192, 201, 208, 302, 403.) From Plaintiff’s own cited case, the Fifth Circuit makes clear

that “although we have held that fraud may be pled on information and belief [when the facts

relating to the alleged fraud are peculiarly within the perpetrator's knowledge]… we have also

warned that this exception must not be mistaken for license to base claims of fraud on speculation

and conclusory allegations.” U.S. ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d


                                                             8
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                  Page 14 of 22 PageID 8179



899, 903 (5th Cir. 1997) (internal quotations omitted) (emphasis added) (holding that the Plaintiff’s

allegations that defendants submitted claims for medically unnecessary services amounted to

nothing more than speculation, and thus failed to satisfy Rule 9(b), because no specific physicians

who referred patients for medically unnecessary services were identified).

         The exception to Rule 9(b)’s standard that VBF hopes to invoke does not apply here where

VBF has access to all of the Founders’ communications during their tenure as officers and

directors. This is not instance where Founders still control the entity and have unique knowledge

of their communications. In fact, Founders have had to seek discovery to obtain their own

communications while officers of VBF. And this case is not in its nascent stage: it has been pending

for over 18 months, over 90,000 pages of documents have been produced, VBF alone has issued

over 110 subpoenas and produced 60,000 pages of its own documents. VBF is in control of all of

the documents and information that could provide the facts necessary to meet Rule 9(b).

         But more importantly, even “where [a] pleading is permitted on information and belief, the

complaint must adduce specific facts supporting a strong inference of fraud.” Thornton v.

Micrografx, Inc., 878 F. Supp. 931, 934 (N.D. Tex. 1995) (holding plaintiff’s allegations of fraud

from misleading and negative information fails to meet Rule 9(b) because they “offer[] nothing

more than ‘fraud by hindsight’”); see also Wexner v. First Manhattan Co., 902 F.2d 169, 172 (2d

Cir. 1990) (holding the complaint is insufficient under Rule 9(b) because it is pleaded largely on

“information and belief” but conspicuously omits any “allegations as to who leaked Wexner's

plans, or when and to whom the information was leaked”).

         In this case, Plaintiff’s SAC does nothing more than offer broad speculations and

conclusory statements to support its “information and belief” theories. Again, even though VBF

purports to be both the vehicle and the victim of Founders’ fraud, and despite a pending bankruptcy



                                                             9
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                              Page 15 of 22 PageID 8180



case, the SAC does not identify one single investor, shareholder, or lender, who saw, received, or

heard any of Founders’ alleged representations. As illustrated in Founders’ Motion to Dismiss,

the “to whom” in virtually every allegation of fraud or omission is only identified categorically,

as “potential and actual investors,” “disinterested VBF directors,” “potentially interested third

parties,” ‘potential lenders.” (MTD, Dkt. No. 184, Ex. C, “To Whom” Column). VBF relies on

equally vague allegations about how and when purported misrepresentation were made. (Id.,

“When?” and “How?” Columns). When combined with the nebulous descriptions of “to whom,”

it is impossible to determine whether these presentations were actually shared with anyone who

relied on them in any way. In fact, in several instances, VBF alleges that certain representations

were “likely shared,” “ultimately circulated,” or “passed on”, (Id. at 12) evidencing its own

uncertainty as to whether these materials were ever communicated to anyone.

         This vague approach is especially improper when the persons alleged to have been

defrauded are those that VBF should and could identify. VBF certainly knows who its investors

are and were.2 It can also identify its own board members and lenders. VBF has all of Founders’

emails and communications and can identify whether certain presentations or power points were

shared with anyone. Thus, this is not an instance where VBF does not have access to the necessary

facts to meet 9(b), but where the facts simply don’t exist. Rule 9(b) is designed to specifically

prohibit this kind of vague, yet damaging accusations.




2
 It must be noted that VBF’s largest shareholder during Founders’ tenure, and now its sole shareholder, is Alder Aqua.
And that VBF’s lender of over $30 M during that same time, is Alder affiliate, Amstar Group. Alder, as the 100%
shareholder of VBF, is the only party who will recover anything if VBF’s suit is successful. Yet VBF cannot identify
a specific Alder representative, an Alder-appointed board member, or a representative of Amstar who was misled by
Founders’ purported misrepresentations or omissions. Surely if the largest and controlling shareholder of VBF, as
well as its primary lender, were victims of Founders’ fraud, they easily could be identified in VBF’s complaint.

                                                               10
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                  Page 16 of 22 PageID 8181



                            C. VBF Fails to Adequately Identify Who Was Injured by Founders’
                               Fraud, When They Were Injured, and How They Were Injured.

         As previously argued, any fraud claim must allege reliance and/or the intent that plaintiff

take action based upon representation. Once again, VBF admits that it has not alleged reliance in

the SAC, but argues that such allegations are only required for its claims of fraudulent concealment

and fraudulent misrepresentation. (Resp., Dkt. No. 217 at 8). But, as has been established, every

one of VBF’s claims alleges a fraudulent misrepresentation, a concealment, or both. The only acts

of reliance that VBF attempts to allege are: that VBF’s directors would have ceased business and

that VBF would have halted Founders’ misconduct. (Resp., Dkt. No. 217 at 13, SAC, ¶¶ 84, 122,

239, 247, 414.) But these are conclusions, and again, fail to identify who would have taken this

action and which representations or omissions caused them not to do so. If VBF directors,

especially those controlled by its sole shareholder Alder, were misled by specific representations

and were considering ceasing VBF’s business sooner, then specific facts surrounding those

representations and decisions could be alleged. But they are not. VBF realizes this because it

attempts to argue an act of reliance that isn’t even plead: that VBF would have terminated Founders

sooner if it had known of their fraudulent schemes. (Resp., Dkt. No. 217 at 13). This appears

nowhere in the SAC and is VBF’s attempt to amend its pleadings by brief. Without sufficient

allegations of reliance, VBF’s fraud claims fail and its remaining claims collapse along with them.

         IV.       VBF’s Civil RICO Claim Should Be Dismissed (Count XXVI).

         VBF fails to rebut the three fundamental and independently dispositive flaws in Plaintiff’s

civil RICO claim outlined in Founders’ Motion: (1) VBF does not plead predicate acts of mail or

wire fraud with sufficient particularity; (2) the predicate acts are not of sufficient duration to

constitute closed-end continuity; and (3) VBF does not adequately plead a RICO enterprise.




                                                             11
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                              Page 17 of 22 PageID 8182



         A.        The SAC fails to specify the allegedly fraudulent statements’ author or
                   speaker, date, place, and reasons why they are fraudulent.

         Despite acknowledging Rule 9(b)’s heightened pleading requirements applies to the

predicate acts for a RICO claim based on fraud, VBF inaccurately asserts, without support, that

the SAC more than sufficiently alleges predicates acts. (Resp., Dkt. No. 217 at 15-16.) The

particularity in this circuit requires “‘time, place and contents of the false representations, as well

as the identity of the person making the misrepresentation and what [that person] obtained

thereby’” is woefully missing from the SAC.3 Williams v. WMX Techs, Inc., 112 F.3d 175, 177

(5th Cir. 1997) (citing Tuchman v. DSC Commc’ns Corp., 14 F.3d 1061, 1068 (5th Cir. 1994)).

         Almost all the alleged predicate acts are spreadsheets or presentations that VBF alleges, in

conclusory fashion, were shared with individuals other than Founders. However, the SAC utterly

fails to state which Founder shared the information, what the Founder who made the

misrepresentation obtained by it, when the misrepresentation occurred, and who specifically

received the misrepresentation. Even the emails described in the Response are insufficient because

VBF fails to plead what was obtained by the representations in the emails. See Williams, 112 F.3d

at 177. Further, VBF must plead and prove each prong of the predicate offense—or “racketeering

activity”—against each Founder Defendant to a RICO claim.4 VBF has not shown that each


3
  For example, VBF defines the First June 2015 Written Representation as a PowerPoint presentation attached as
Exhibit 15. But how does VBF describe the “who, what, when, where, how, and why” with specificity? The who is
merely “at least one of the Founders” made the representation to “potential and actual investors, including but not
limited to, Alder” and, “on information and belief, passed onto other disinterested VBF directors and employees.”
The only “when” is the creation date of the PowerPoint (i.e., June 2015), and not any date it was actually given to
someone. Additionally, VBF fails to identify what the Founder making the alleged misrepresentation in the
PowerPoint obtained from the misrepresentation. (SAC ¶ 118; see also SAC ¶ 95 (alleging the excel file defined as
the June 2014 Written Representation was “provided to potential and actual investors. . . [and] on information and
belief, passed onto other disinterested VBF directors and employees”); ¶ 167 (alleging generally that a PowerPoint
defined as the May 2015 Written Representations was provided by Founders to potentially interested third parties,
including Alder, and upon information and belief disinterested VBF directors, and employees).
4
 Contrary to VBF’s assertion (Resp. at 4-7), in a multi-defendant RICO case such as here, courts require a plaintiff to
set forth each element of the underlying offense against each defendant. See ABN-AMRO Mortg. Group, Inc. v.
Emerson Manufactured Homes, Ltd., 2005 WL 1949601 (S.D. Tex. Aug. 15, 2005). It is not enough for a plaintiff to

                                                                12
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                               Page 18 of 22 PageID 8183



Founder Defendant engaged in acts that would constitute mail fraud or wire fraud and, thus, has

not demonstrated the requisite predicate offenses to establish “racketeering activity.”

         B.        VBF continues to miss the point—any predicate act not plead with sufficient
                   particularity cannot be used as a basis for a RICO claim.

         VBF’s conclusory allegations of predicate acts must be disregarded when evaluating

whether a pattern of racketeering activity exits. See Clapper v. Am. Realty Inv’rs, Inc., 2016 WL

302313, at *9, n. 14 (N.D. Tex. Jan. 25, 2016). VBF has only included specific dates for two

predicate acts: the Various June 2015 Written Representations (SAC, Exs. 4 and 16-2) and the

April 2016 Written Representations (SAC, Ex. 28). Accordingly, at best, the predicate acts span

a period of only eleven months—not the two to four years VBF asserts in its Response—which is

insufficient to form a pattern of racketeering activity. See e.g., Tel–phonic Services, Inc. v. TBS

Int’l, Inc., 975 F.2d 1134, 1140 (5th Cir. 1992).

                                 C. VBF has failed to plausibly allege a RICO enterprise.

         VBF unsuccessfully attempts to save its allegation of an association-in-fact by arguing that,

under Whelan v. Winchester Prod. Co., 319 F.3d 225, 229 (5th Cir. 2003), officers or employees

working outside of the scope of their employment can constitute an association-in-fact enterprise.

However, Founders do not contend that members of an organization cannot be an association in

fact. Instead, Founders argue that VBF failed to plead facts, as opposed to conclusory statements,

demonstrating that an association in fact actually existed.

         Specifically, the SAC fails to describe any of Founders’ activities outside of their

employment with VBF. (SAC ¶ 403.) VBF does not allege facts demonstrating Founders

coordinated or functioned as a continuing unit as shown by a hierarchical or consensual decision-


vaguely attribute the alleged fraudulent representations to “defendants” collectively. See In re MasterCard Int’l, Inc.,
Internet Gambling Litig., 132 F. Supp. 2d 468, 476, 482 (E.D. La. 2001), aff’d, 313 F.3d 257 (5th Cir. 2002).


                                                                13
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                                Page 19 of 22 PageID 8184



making structure. See Stanissis v. DynCorp Int’l LLC, 2015 WL 9478184, at *4 (N.D. Tex. Dec.

29, 2015). Accordingly, VBF fails to allege an association-in-fact.

         Furthermore, VBF is incorrect that VBF can act as both the RICO enterprise and the victim

of the enterprise.5 See Jaguar Cars, Inc. v. Royal Oaks Motor Car Co., 46 F.3d 258, 267 (3d Cir.

1995) (holding that a corporation cannot be both the victim and the enterprise). Accordingly, the

Court should dismiss VBF’s RICO claim as the SAC does not adequately plead a RICO enterprise.

         V.        Plaintiff Lacks Standing Under Fed. R. Civ. P. 12(b)(1).

         As Founders argued, even if true, the conclusory and categorical nature of the allegations

in the SAC indicate that VBF is not the appropriate plaintiff to recover damages in this case.

Essentially, VBF has no standing to pursue these claims under Fed. R. Civ. P. 12(b)(1). VBF

argues that it is seeking to recover the loss of its own assets and thus, has alleged a direct injury.

(See Resp., Dkt. No. 217 at 29-30.)

         But there is a glaring disconnect between this argument and the SAC’s allegations.

According to the SAC, the parties who purportedly were misled by Founders’ fraud and omissions

are investors, lenders, potential investors6 and lenders, potentially interested third parties and

disinterested directors.        (MTD, Dkt. No. 184, Ex. C, “To Whom” Column). But as VBF

acknowledges, it cannot recover amounts invested in the company or lent to the company by other



5
  Plaintiff’s reliance on Ranieri v. AdvoCare Int'l, L.P., 2019 WL 3207501, at *4 (N.D. Tex. July 16, 2019) and a
footnote in Nat’l Organization for Women, Inc. v. Scheidler, 510 U.S. 249, 259 (1994) is misplaced. Ranieri merely
stands for the proposition that the Fifth Circuit has not addressed whether victims can be included in an “association
of fact” theory. The court never addresses whether a victim, standing alone, can constitute an enterprise. In Nat’l
Organization for Women, the Supreme Court acknowledged that the term “enterprise” was used in multiple sections
of Section 1962(a), (b), and (c), and that, in those sections, the term enterprise “plays a different role.” Although the
enterprise in Subsections (a) and (b) may be a “victim of unlawful activity,” in Subsection (c)—the section relied on
in the SAC—the enterprise cannot be the vehicle of the unlawful pattern of activity and the victim of the activity. Id.

6
 VBF does not defend its allegations that “potential” investors or lenders were defrauded by Founders. VBF cannot
recover on behalf of those who never invested in the company, no matter how egregious the fraud may have been.
“Merely asking for money does not establish injury-in-fact.” Rivera v. Wyeth- Ayerst Labs., 283 F.3d 315, 319 (5th
Cir. 2002).

                                                                 14
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                   Page 20 of 22 PageID 8185



parties, even if they were duped by Founders. So how was VBF itself duped and how was it

injured? The $90,000,000 damages figure that is sprinkled throughout the SAC is not tied to any

investment, loan, asset purchase, or corporate transaction by VBF, the entity, but is merely alleged

described as “compensatory damages.” (SAC, ¶¶ 1, 3, 54, 55, 56, 113-14, 207, 234, 242, 249, 253,

293, 297, 315, 333, 342, 362, 368, 374, 391, 428.)

         Arguably, the only injury that VBF itself suffered is the purported misappropriation of

assets via certain business decisions Founders made regarding purchase of assets, compensations

decisions and expense reimbursements. (SAC, ¶¶ 26-41, 46-52.) Those losses total approximately

$5-10M, in VBF’s estimation. (Resp., Dkt. No. 217 at 29). But the $90,000,000 figure is never

tied to any of these actions, nor to any purported victim, not even VBF. Like many of the other

allegations, it is simply dropped in as a dramatic conclusion. As the U.S. Supreme Court held in

Twombly, even under the basic requirements of Rule 8, a complaint “must give the defendant fair

notice of the what the claim is and the grounds upon which it rests.” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555 (2007). Legal conclusions couched as factual allegations are not

sufficient. Id. VBF’s staggering damage allegation is an untethered legal conclusion.

         VBF cannot have it both ways. Either it is relying on misrepresentations made to investors

or lenders and improperly seeking recovery for losses to those investors and lenders; or it is seeking

loss of its own assets, in which case, it has failed to adequately allege how VBF, the entity, was

defrauded by Founders.

         VI.       VBF Should Not be Permitted Leave to Amend.

         As many plaintiffs do, VBF requested leave to amend the SAC if Founder Defendants’

Motion is granted. (Resp., Dkt. No. 217 at 31) Both the Fifth Circuit and the Northern District of

Texas disapprove of “a routine and perfunctory request to amend which serves as a safety valve



                                                             15
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                  Page 21 of 22 PageID 8186



in the event the court rules in favor of Defendants.” In re Capstead Mortg. Corp. Sec. Litig., 258

F. Supp. 2d 533, 566 (N.D. Tex. 2003); see also Goldstein v. MCI WorldCom, 340 F. 3d 238, 254-

55 (5th Cir. 2003) (noting plaintiffs “tacked on a general curative amendment request” to their

dismissal response “almost as an afterthought”). Both the Goldstein and Capstead Mortg. courts

were persuaded to deny imbedded requests to leave to amend because the plaintiff had not set forth

any additional facts that it could plead in an amended complaint that would cure its pleading

deficiencies. Goldstein, 340 F. 3d at 255; In re Capstead Mortg., 258 F. Supp. 2d at 566. Here

too, VBF has failed to set forth any additional facts that could be plead, instead relying on the

sheer quantity of allegations as evidence of their adequacy.

         Furthermore, requesting amendment without any such proffer of new facts, and without

the inclusion of a proposed amended complaint, also completely disregards the requirements of

Local Rule 15.1, which provides that any request to amend be accompanied by a copy of the

proposed amended pleading. VBF has had years to investigate this case and set forth clear facts to

support its claims, and has filed three separate petitions attempting to do so. VBF’s continued

failure to adequately state its claims with the particularity required supports dismissal of VBF’s

claims with prejudice. Naming a party in a civil suit for fraud is a serious matter. Unwarranted

fraud claims can (and have) lead to serious injury to reputation for which our legal system

effectively offers no redress. For this reason, Founders respectfully request this Court dismiss

VBF’s Second Amended Complaint with prejudice to refiling same.

                                                   CONCLUSION

         Founders respectfully request the Founder Claims in VBF’s Second Amended Complaint

be dismissed in its entirety, with prejudice, and for such other and further relief to which Founders

may show themselves justly entitled to receive.



                                                             16
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
Case 3:19-cv-00764-X Document 245 Filed 01/10/20                            Page 22 of 22 PageID 8187



Dated: January 10, 2020                                  Respectfully submitted,

                                                         By: /s/ Kimberly D. Annello
                                                         Kimberly D. Annello
                                                         Texas Bar No. 24093704
                                                         Eli D. Pierce
                                                         Texas Bar No. 24092972
                                                         Underwood Perkins, P.C.
                                                         5420 LBJ Freeway, Suite 1900 Dallas,
                                                         Texas 75240
                                                         Phone: 972.661.5114
                                                         Email: kannello@uplawtx.com
                                                                 epierce@uplawtx.com


                                                         Attorneys for Defendants, Leslie Wulf,
                                                         Bruce Hall, John (Ted) Rea, and James Rea


                                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 10, 2020 a true and correct copy of the
above and foregoing was served upon counsel of records for all parties via ECF Service.

                                                                /s/ Eli D. Pierce
                                                                Eli D. Pierce




                                                                17
1524479v1 - V0265.00001 Founder Reply to VBF Respon MTD V2
